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In the Guited States Court of Federal Clans

No. 19-1679
(Filed: November 1, 2019)

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ROBERT CLAY JACKSON HI,

Plaintiff,
v.
THE UNITED STATES,
Defendant.

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ORDER

Plaintiff Robert Clay Jackson II, appearing pro se, filed his complaint
seeking approximately $52 million in monetary damages and injunctive
relief for alleged violations of his constitutional and statutory rights by the
Department of Justice.' Plaintiff argues, specifically, that United States and
Department of Justice have violated his Eighth and Fourteenth Amendment
rights, causing him severe damage, Although the exact theories of the
plaintiff's claim are uncertain, it is certain that we do not have jurisdiction to
entertain his claims.

A plaintiff, even when proceeding pro se, must demonstrate that the
court has jurisdiction over his claim. Reynolds v. Army & Air Force
Exchange Serv., 846 F.2d 746, 748 (Fed, Cir, 1988). “Ifthe court determines
at any time that it lacks subject-matter jurisdiction, the court must dismiss
the action.” Rule 12(h)(3) of the Rules of the United States Court of Federal
Claims (““COFC”). This court has jurisdiction under the Tucker Act to
adjudicate claims for monetary relief against the United States. 28 U.S.C. §
1491(a)(1) (2012) (‘The COFC shall have jurisdiction to render judgment

 

' Plaintiff has neither paid the filing fee nor filed a motion for leave to proceed
in forma pauperis, While his filing fee remains due, we decline to wait for
either a fee or a motion for leave to proceed in forma pauperis, in light of the
. fact that we plainly do not have jurisdiction.

 
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upon any claim against the United States founded either upon the
Constitution, or any Act of Congress or any regulation of an executive
department, or upon any express or implied contract with the United States,
or for liquidated or unliquidated damages in cases not sounding in tort.”). To
invoke our jurisdiction, plaintiff must assert a claim regarding some violation
of a money-mandating law or contract provision. Fisher v. United States, 402
F.3d 1167, 1173 (Fed. Cir. 2005).

Although this court has jurisdiction over some claims arising from the
Constitution, it is well established that this court does not have jurisdiction
to hear plaintiffs claim based upon an alleged violation of the Eight
Amendment. Trafny v. U.S., 504 F.3d 1339, 1340 (Fed, Cir. 2007) (“[t]he
Court of Federal Claims does not have jurisdiction over claims arising under
the Eighth Amendment, as the Eighth Amendment is not a money-mandating
provision.”) (internal quotations and citations omitted). This court also lacks
jurisdiction over tort claims. Jd. (citing 28 U.S.C. § 1491(a)(1)). Thus, Mr.
Jackson’s Eighth Amendment claim and claims “sounding in tort” are not
within this court’s jurisdiction. The same holds true regarding Mr. Jackson’s
Fourteenth Amendment claim. Edelmann v. U.S., 76 Fed. Cl. 376 (2007).

As to the civil rights violation alleged by Mr. Jackson by his reference
to 28 U.S.C. § 1343(a)(3) and 42 U.S.C. §§ 1981, 1983 (2018), this court
also lacks jurisdiction over such claims. Elkins v. United States, 229 Ct. Cl.
607, 608 (1981) (“[W]e do not have jurisdiction over claims based upon
alleged violations of the civil rights laws.”) (citations omitted).

Because plaintiff has failed to show that the court has jurisdiction over
his claims, his complaint must be dismissed. Accordingly, the Clerk of Court
is directed to dismiss the complaint for lack of jurisdiction and enter
judgment accordingly. No costs.

    

Eric G. Bruggi
Senior Judge
